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     I
    I Todd M. Friedman (216752)                                                   FILE®
     Suren N. Weerasuriya (278512)                                              SUPERIOR COURT
  2                                                                        COUNTY O,F SAN BERNARDINO
     Adrian R. Bacon (280332)                                               SAN BERI+IARL'!NO DISTRICT
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  5
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  x Attorneys for Plaintiff
  9
                           SUPERIOR COURT OF THE STATF, OF CALIFORNIA
 lo                            FOR THE COUNTY OF SAN BERNARDINO
                                      LIMITED JURISDICTION
 tl

 12                                                      ) CascNo.
                                                         )

 13      JOE BASULTO AND MINNIE BASULTO, )                   COMPLAINT FOR VIOLATION
                                         )                   OF ROSENTHAL FAIR DEBT
 14      Plaintiffs,                     )                   COLLECTION PRACTICES ACT AND
Is                                       )                   FEDERAL FAIR DEBT COLLECTION
                 vs.                     )                   PRACTICES AC'T
16                                                       )
         MIDLAND CREDIT MANAGEMENT,                      )(Amount not to exeeed $10,000)
17
         INC.,                                           )
18                                                      )          1. Violation of Rosenthal Fair Dcbt
         Defendant.                                     )             Collection Practices Act
19                                                      }          2. Violation of Fair Debt Collection
                                                        )             Practices Act
20

21
                                            1. INTRODUCTION
22
                 I. 'fhis is an action fo- damages brought by two individual consumers for Defendant's
23

24       violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code §1788,         ei .cey. I

25       (hereinatier "RFDCPA") and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
26
         (hereinafter "FDCPA"), both of which prohibit debt collectors from engaging in abusive,
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         deccptive, and unfair practices.
is




                                                  C'omplaint - I
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 1                                                    11. PARTIES
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               2.      PlaintitTs, Joe Basulto and Minnic Basulto ("Plaintiffs"), are natural persons
 3
       residinf; in San Bernardino County in the state of Calil'ornia, and are "consumers" as detined by
 a

       thc FDCPA, 15 U.S.C. §1692a(3) and is a"debtor" as detined by Cal Civ Code §1788.2(h).
 5

 6             3.     At al) relevant times herein, Defendant, Midland Credit Management, Inc.

 7     ("Dcf'endant") was a company engaged, by use o1' the mails and telephone, in the business of
 8
       collecting a debt from Plaintit'fs which qualifies as a"debt," as defined by 15 U.S.C. §1692a(5),
 9
       and a"consumer debt," as defined by Cal Civ Code § 1788.2(f). Defendant regularly attempts
lu

II
       to collect debts alleged to be due another, and thercfore is a"dcbt collector" as detined by the

12     FDCPA, 15 U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).
13                                    III. FACTUAL AI.LEGATIONS
14
              4.      At various and multiple times prior to the tiling of the instant complaint,
Is
!6 ~   including within the one year preceding the tiling of' this complaint, Defendant contacted

17     Plaintiffs in an attempt to collect an alleged outstanding dcbt.

18            5.       On or around April of 2014, DEF I;NDAN'f sent a dunning letter to
19
       PI.AINTIFF's mother's address in an attempt to collcct an alleged debt owed.
20
              6.      PLAINTIFF's mother is a third party and in no way associatcd with
21
       PLAINTIFF's debt.

23            7.      Thc purpose ofthe dunning letler to PLAINTIFF's mother's address was not for
,4
       purposes ot'locating the I'I.AINTIFF.
25
              8.      Furthermore, on or around February o f 2014, DEFl:NDANT communicated
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       PLAINTIFF's credit in[iormation to the relevant credit reporting agencies when DEFENllAN"1'
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28
       knew or had reason to know that the information it was communicating was false.




                                                   C'omplaint - 2
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    1          9.       On May 9, 2014, Plaintiff's counsel sent a notice of representation to Defendant.

    2   Defendant has failed to respond at this time.
    3
               10.       Defendant's conduct violated the F DCPA and thc RrDCPA in multiple ways,
    4

        including but not limited to:
    s

    6
                     a) In connection with an attempt to collect an alleged debt from
    7                    Plaintiif, contacting a third party for purposes other than
    K                    obtaining location information (§§ 1692b &. 1692c(b));

    y                b) In connection witli an attempt to collcct an aileged debt from
                         Plaintiff, providing the identity of Defendant to a third party
I
    c                    without such information beinb expressly requested (fi§ 1692b(1)
i1                       & 1692c(b));

12                   c) llisclosing to a third party the existence of the debt allegedly
                         owed by Plaintiff(§ I692b(2) & 1692c(b));
13

14                   d) Communicating to single third Party more than once in
                        connection with an attempt to collect an alleged debt from
15                      Plaintiff (§ 1692b(3) & 1692c(b));
16

17                   e) Falsely representing the cliaracter, a►rnount, or legal status of
                         Plaintiff's debt (§ 1692e(2)(A));
18

19                   1) Communicating or threatening to communicate credit
211                     infortnation which is known or which should be known to be
                        false (§ 1692e(8));
zl
22                   g) Using unfair or unconscionablc means against Plaintiff in
                        connection with an attempt to collect a debt (§ 1692t)); and
23

24
                     h) Communicating information regarding a consumer debt to a
25
                        member of Plaintitl's family prior to obtaining a judgment
                        against the debtor, where the purpose of the communication was
26                      not to locate thc debtor and neither Plaintiff nor Plaintiff's
                        attorney consented to the communication (Cal. Civ. Code §
27
                        1788.12(b)).
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                                                   C'omplaint - 3
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 1               11.     As a result of the above violations of the FDCPA and RFDCPA, Plaintiffs
 ,
     ~ suffered and continue to suffer injury to Plaintifts' feelings, personal humiliation,
 3
     I embarrassment, mental anguish and emotional distress, and Defendant is liable to I'laintiffs for
 a
         Plaintif7s' actual damagcs, statutory damages, and costs and attorney's fees.
 5

 G                                COUNT 1: VIOLATION OF ROSENTHAL
     I                          FAIR DERT COLLECTION PRACTiCES ACT
 7

 s
                 12.     PlaintilTs reincorporate by refcrcnce all ol'the preceding paragraphs.

 9               13.     To the extent that Defendant's actions, counted abovc, violated the RFDCPA,

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         those actions were done knowingly and willfully.
11
                                             PRAYER FOR RELIEF
12
                 WHERLFORE, PlaintifTs respect('ully pray that judgment be entered a6ainst Defendant
13

la       t<or the following:

15                       A.     Actual damagcs;
                         B.     Statutory damages for willful and negligent violations;
le
                         C.     Costs and reasonable attorncy's fces; and
17                       D.     For such other and further reliel' as may be just and proper.

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 1                                 COUNT 11: VIOLATION OF FAI R DEBT
 -,
                                     COLLECTION PRACTICF.S ACT

 3               14.     Plaintifts reincorporate by refercncc all of the preceding paragraphs.

 4                                           PRAYER FOIt RELIEF
 5
                 Wl {EREFORE, Plaintiffs respectfuIly pray that judgment be entered against Defendant '
 c,
          for the following:
 7
                         A.     Actual damages;
 S
                         B.     Statutory damages;
 9                       C.     Costs and reasonable attorney's f'ces; and,
                         D.     For such other and further relief as may be just and proper.
lo

11 '
                           Fk                                     H;ST A
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                         Respectfully submitted this 17`h day of De~eKWr,26l4.
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14 ;
                                                Iiy:
                                                          "1'odd M. Friedman, Esq.
15 ,                                                      I.aw ()ffices of "1'odd M. Friedman, P.C.
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                                                          Attorney for Plaintiff
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